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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE



JAMIE BROWN,                                         )
                                                     )
                              Plaintiff              )
                                                     )
                      v.                             )       Civil No. 16-440-GZS
                                                     )
DEPARTMENT OF CORRECTIONS                            )
EMPLOYEES/STAFF, et al.,                             )
                                                     )
                              Defendants             )


                           MOTION FOR SUMMARY JUDGMENT

       Jamie Brown, a prisoner at the Maine State Prison, filed, on August 26, 2016, a lawsuit

containing various federal civil rights claims, in which he “named” “Department of Corrections

Employees/Staff” and various individuals as defendants. By a recommended decision (ECF No.

13) and the order affirming it (ECF No. 14), the court dismissed all claims against all defendants,

except for Brown’s official capacity claim for injunctive relief against defendant Bueno (then the

Unit Manager of the Prison’s Intensive Mental Health Unit) based on Brown’s claim that he had

been unlawfully assigned to the Intensive Mental Health Unit and that his removal from that unit

should be ordered by the court.

       Even before the recommended decision was issued as part of the process of the court’s

initial screening of prisoner complaints, the plaintiff’s claim became moot. As the statement of

material facts and affidavit being filed with this motion show, Brown had been released from the

Intensive Mental Health Unit to the Close Unit in October of 2016 and is still housed in the latter

unit. Just as a claim for injunctive relief becomes moot when a prisoner who is complaining

about one prison facility is transferred to another, here the transfer of Brown from the IMHU to
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the Close Unit moots his claim for injunctive relief with respect to the former. C.f. Salhuddin v.

Goord, 467 F. 3d 263, 272 (2d Cir. 2006); Thompson v. Choinski, 525 F. 3d 205, 209 (2d Cir.

2008); and Stow v. Warden, New Hampshire State Prison, 21 F. 3d 420 (1st Cir. 1994) (table)

(unpublished decision), 1994 WL 108929, *2.

       Further, Brown has already obtained the relief he is requesting, and there is nothing more

for the court to do. C.f., Preiser v. Newkirk, 422 U.S. 395, 402 (1975) (prisoner’s complaint

about being transferred from medium to maximum security prison was rendered moot when he

was returned to the medium custody prison before the district court could rule on his case.)

       Therefore, for all these reasons, Brown’s remaining claim should be dismissed as moot

and judgment entered for defendant Bueno, along with the other defendants already dismissed

from this case.


Dated: January 26, 2017                              /s/ Diane Sleek
                                                     DIANE SLEEK, AAG
                                                     Office of Attorney General
                                                     Six State House Station
                                                     Augusta, ME 04333-0006
                                                     Tel. (207) 626-8800



                              CERTIFICATE OF SERVICE

I hereby certify that, on this date, I caused one copy of this filing to be served upon Jamie Brown
# 47396, Maine State Prison, 807 Cushing Road, Warren, ME 04864 by having the same
deposited in the United States Mail, postage prepaid.


Dated: January 26, 2017                              /s/ Diane E. Sleek
                                                     DIANE E. SLEEK, AAG




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